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10                          UNITED STATES DISTRICT COURT
11                        EASTERN DISTRICT OF CALIFORNIA
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13    CORY R. CLAUSEN,                                    Case No: 2:15-cv-01854-JAM-AC
14
                              Plaintiff,                  ORDER GRANTING JOINT
15    v.                                                  MOTION FOR DISMISSAL OF
16                                                        ACTION WITH PREJUDICE
      KELSTIN GROUP, INC. dba
17    CREDIT BUREAU                                       HON. JOHN A. MENDEZ
18    ASSOCIATES,

19                            Defendants.
20
21
22           Based upon the Joint Motion for Dismissal, and good cause, this Court

23   hereby orders the action to be, and is, dismissed with prejudice.

24           IT IS SO ORDERED.

25
26   Dated: 3/2/2016                       /s/ John A. Mendez________________
                                           HON. JOHN A. MENDEZ
27                                         UNITED STATES DISTRICT JUDGE
28

      _________________________________________________________________________________________________
     [PROPOSED] ORDER                      - 1 of 1 -                       2:15-cv-01854-JAM-AC
